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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             SOUTHERN                                                  DISTRICT OF                                      FLORIDA


                 UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                     RYAN WESLEY ROUTH                                                                                 Case Number: 24-mj-8441-RMM

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Ryon M. McCabe                                                     Mark Dispoto & Adam McMichael                            Kristy Militello & Renee Sihvola
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 09/23/2024                                                         Jill Wells & DAR 11:00:01                                S. Payne
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                  9/23/2024             Y             Y         Golf Course Map

   2                  9/23/2024             Y             Y         Photograph of Sniper Nest

   3                  9/23/0204             Y             Y         Photograph of SKS Rifle

   4                  9/23/2024             Y             Y         Photograph of Obliterated Serial Number on SKS Rifle

   5                  9/23/2024             Y             Y         Overall Map (Trump International and Martin County)

   6                  9/23/2024             Y             Y         Photograph of Letter from Civilian Witness

   7                  9/23/2024             Y             Y         Prior Criminal Convictions of Defendant




             1        9/23/2024             Y             Y         Crimefighting Pays/Police Organization Honors 'Super Citzen' Article




                                                                    FBI Agent Christian Hull sworn and provided testimony




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages
